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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


   ACQIS LLC,
   a Texas limited liability company,                 Civil Action No. 6:23-cv-00882-ADA

                       Plaintiff,
            v.
                                                      JURY TRIAL DEMANDED
   ADVANTECH CO., LTD., a Taiwanese
   corporation,

                       Defendant.


    NOTICE REGARDING AGREED REQUEST TO CHANGE DEADLINE FOR
  DEFENDANT ADVANTECH CO., LTD. TO ANSWER OR OTHERWISE RESPOND
             TO COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff ACQIS, LLC and Defendant ADVANTECH CO., LTD. (“Defendant”) have

agreed to an extension of time for Defendant to answer or otherwise respond to the Complaint for

Patent Infringement filed on December 22, 2023 (the “Complaint”). See Dkt. 1. The extension

moves the deadline to answer or otherwise respond to the Complaint to June 24, 2024.

         The parties certify that this extended deadline is the first extension as to the Complaint, and

that the extended deadline does not change the date of any hearing, trial, or other Court date, and

does not extend any deadline of a final submission that affects the Court’s ability to hold a scheduled

hearing, trial, or Court event.

Dated: May 2, 2024.




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                                      Respectfully submitted,

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                                             Attorneys for Plaintiff ACQIS LLC


                                 CERTIFICATE OF SERVICE

         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on May 2, 2024, all counsel of record who have appeared in this case are being served with

a copy of the foregoing via the Court’s CM/ECF system.


                                             /s/ Paige Arnette Amstutz
                                             Paige Arnette Amstutz




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